Case 2:15-cr-20723-MFL-APP ECF No. 75, PageID.525 Filed 03/21/16 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                       Case No. 15-20723
                                                    Hon. Matthew F. Leitman
v

D-1, JORGE AZAR,

               Defendant.
_________________________________________________________________/

    ORDER GRANTING EX PARTE MOTION FOR EXPERT SERVICES

      The case having come before the Court on Defendant’s Ex Parte motion for

private investigator services, and the Court being fully advised in the premises,

      IT IS HEREBY ORDERED that defense counsel is authorized to retain the

services of a private investigator up to the amount of $2,400.00.

      IT IS FURTHER ORDERED that the investigator is authorized to submit

vouchers for interim payments for those services.



                                       /s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: March 21, 2016
Case 2:15-cr-20723-MFL-APP ECF No. 75, PageID.526 Filed 03/21/16 Page 2 of 2




I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on March 21, 2016, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (313) 234-5113
